 Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 1 of 13                      PageID #: 1




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

                                             )
CANDACE FALLER,                              )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       Civil Action No.
                                             )
TWO BRIDGES REGIONAL JAIL,                   )
                                             )
       Defendant.                            )



                     COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, Candace Faller, by and through the undersigned counsel, complains of Two

Bridges Regional Jail as follows:

                                       INTRODUCTION

       1.      This action is brought by Plaintiff Candace Faller seeking redress for the physical

and emotional injuries she suffered because Defendant Two Bridges Regional Jail intentionally

discriminated against her because she is disabled and refused to provide reasonable

accommodations for her disability.

                                JURISDICTION AND VENUE

       2.      This action is brought pursuant to Title II of the Americas with Disabilities Act,

As Amended, 42 U.S.C. § 12132. It is also brought pursuant to § 504 of the Rehabilitation Act of

1973, 29 U.S.C. § 794.

       3.      Jurisdiction is conferred by 28 U.S.C. §§ 1331 and 1343.

       4.      Venue is proper under 28 U.S.C. § 1391 because all events giving rise to the

claims occurred in Maine and Defendant Two Bridges Regional Jail is located in Maine.
 Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 2 of 13                       PageID #: 2




                                       JURY TRIAL DEMAND

       5.      Ms. Faller hereby demands trial by jury on all issues triable to a jury.

                                            PARTIES

       6.      Plaintiff Candace Faller is a citizen of the United States and resides in the Town

of Woolwich, County of Sagadahoc, State of Maine. At the time relevant to this Complaint, Ms.

Faller lived in Rockland, Maine.

       7.      At all relevant times Plaintiff Candace Faller was a “qualified individual with a

disability” as defined by 42 U.S.C. § 12131(2) of the ADA and 29 U.S.C. § 794 of the

Rehabilitation Act.

       8.      Defendant Two Bridges Regional Jail is a corrections facility located in

Wiscasset, Maine and operated pursuant to the Lincoln and Sagadahoc Multicounty Jail

Authority. Upon information and belief, it receives federal financial assistance for the various

programs and activities it provides.

       9.      At all relevant times Defendant Two Bridges Regional Jail was a “public entity”

as defined by 42 U.S.C. § 12131(1) of the ADA and 29 U.S.C. § 794 of the Rehabilitation Act.

                                   FACTUAL BACKGROUND

   A. Ms. Faller Suffers from a Disability as Defined by the Americans with Disabilities
      Act, As Amended.

       10.     Plaintiff Candace Faller (“Ms. Faller”) has a history of mental health disorders.

       11.     At all times relevant to this civil action, including the date she was arrested and

booked in Two Bridges Regional Jail, Ms. Faller had been diagnosed with, and was suffering

from symptoms of, post-traumatic stress disorder (“PTSD”), anxiety, and depression.




                                                 2
 Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 3 of 13                        PageID #: 3




       12.      Ms. Faller’s anxiety, depression, and PTSD resulted, in part, from being the

victim of childhood sexual abuse and suffering sexual assault as an adult during a period of

homelessness.

       13.      These disabling mental health conditions cause Ms. Faller significant and

debilitating anxiety and fear, particularly when interacting with aggressive or physically

intimidating men who are in close proximity to her.

       14.      Ms. Faller’s disabling mental health conditions also result in poor and sporadic

sleep punctuated with nightmares and bad dreams. At times they make her energy level so low

that she struggles to accomplish activities of daily living and fails to eat meals regularly and

consistently.

       15.      The ADA establishes that “major life activity” and “substantial limitation” are to

be construed as broadly as possible, pursuant to 42 U.S.C. § 12102(4)(A).

       16.      Pursuant to the ADA Amendments Act of 2008, what constitutes a major life

activity includes the operation of a major bodily function, “including but not limited to, functions

of the immune system, normal cell growth, digestive, bowel, bladder, neurological, brain,

respiratory, circulatory, endocrine, and reproductive functions.” 42 U.S.C. 12102(2)(B). Major

life activities also include caring for oneself, performing manual tasks, seeing, hearing, eating,

sleeping, walking, standing, lifting, bending, speaking, breathing, learning, reading,

concentrating, thinking, communicating, and working. 42 U.S.C. 12102(2)(A).

       17.      The legislative history to the ADA Amendments Act of 2008 states that

substantially limits means, “restricted as to the conditions, manner, or duration under which they

can be performed in comparison to most people.” Managers Statement, 154 Cong. Rec. at S

8842. Making this determination relates, for example, to the way that individuals perform major



                                                  3
  Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 4 of 13                       PageID #: 4




life activities. Statement Rep. Stark, 154 Cong. Rec. at H8291; Statement of Rep. Courtney, 154

Cong. Rec. at H8296.

        18.    Ms. Faller’s anxiety, depression, and PTSD are disabilities under the ADA and

the Rehabilitation Act because they are mental impairments that substantially limit various major

life activities in those that have them, including Ms. Faller. For Ms. Faller they substantially

limited her brain functioning, as well as her ability to sleep, to eat, and to communicate and

interact effectively with others.

        19.    The substantive standards for determining liability under the ADA and the

Rehabilitation Act are the same.

    B. Ms. Faller is Arrested.

        20.    On April 28, 2016, Ms. Faller was arrested by an officer of the Wiscasset Police

Department named Nadean Crossly.

        21.    That morning Officer Crossly witnessed Ms. Faller driving erratically. He turned

on his lights and sirens, and in response she pulled into a convenience store parking lot.

        22.    When Officer Crossly approached her car, Ms. Faller explained to him that she

suffered from PTSD due to being raped, and that as a result she becomes fearful and anxious

when she is close to or touched by loud, domineering, or aggressive men.

        23.    During the arrest Officer Crossly took into consideration Ms. Faller’s PTSD. He

made efforts to give her verbal commands, did not act aggressively or yell loudly, and when he

handcuffed her, he did it gently. Ms. Faller was arrested that morning for OUI without incident.

        24.    After arresting her, Officer Crossly brought Ms. Faller to Two Bridges Regional

Jail.




                                                  4
 Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 5 of 13                       PageID #: 5




    C. Ms. Faller is Booked at Two Bridges Regional Jail.

        25.     Upon arriving at Two Bridges Regional Jail, Ms. Faller met with a corrections

officer (the “Booking Officer”) to complete the booking process. The Booking Officer was male.

        26.     Paperwork completed during the booking process reflects that Ms. Faller told the

Booking Officer that she suffered from anxiety, depression, and PTSD, and that she had a history

of suicide attempts.

        27.     Throughout the booking process, the Booking Officer was loud and aggressive

and repeatedly touched Ms. Faller. As a result, Ms. Faller became anxious, fearful, and scared.

        28.     Jail records from that day show that Ms. Faller was 5’ 1”, and weighed 110

pounds when she was booked. The Booking Officer was significantly taller and heavier than her.

At no point was she a direct threat to the safety of others present or otherwise create danger or

risk to others’ safety.

        29.     As she had done with Officer Crossly when she was arrested, Ms. Faller told the

Booking Officer that she had PTSD, which made it very difficult for her to be around men who

touched her or who she perceived to be domineering or physically or verbally aggressive.

        30.      In response to what she told him about her disability, the Booking Officer

grabbed Ms. Faller’s arm tightly enough to bruise, and pulled her off her chair and towards what

she assumed would be a cell. The Booking Officer did this to Ms. Faller because he had just

learned that her PTSD would make it acutely painful and difficult for her.

        31.     In response, Ms. Faller yelled “Don’t touch me!”

    D. Ms. Faller is Taken to a Cell.

        32.     Terrified by what was happening, Ms. Faller reiterated to the Booking Officer that

her PTSD makes being treated this way by men extraordinarily difficult and painful for her

because of her history of sexual assault victimization and rape.
                                                 5
 Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 6 of 13                        PageID #: 6




       33.        As the Booking Officer continued to pull her by the arm, she repeatedly requested

that, because of her PTSD, a female corrections be provided to perform whatever was now

happening to her.

       34.        Upon information and belief, numerous corrections officers and other jail staff

heard Ms. Faller’s request for a female officer because of her PTSD.

       35.        Despite knowing that Ms. Faller had PTSD that was triggered by loud and

aggressive men, the Booking Officer denied Ms. Faller’s request for assistance from a female

officer. Instead, he forcefully pulled her toward a security door. Once there, he pushed her head

up against the wall. While they waited for the door to open, the Booking Officer pressed his

entire body up against Ms. Faller, pinning her head and her body up against the wall.

       36.        At this point Ms. Faller was experiencing acute fear and anxiety due to her PTSD.

       37.        When the door opened, the Booking Officer led Ms. Faller through and towards a

cell. By now, at least two other male corrections officers had joined Ms. Faller and the Booking

Officer.

       38.        When they arrived at the cell, the Booking Officer led Ms. Faller inside and

started pushing her up against the wall from behind.

       39.        Once inside the cell, Booking Officer grabbed Ms. Faller’s arms and held her

down while five additional male corrections officers arrived. The Booking Officer released Ms.

Faller’s hands.

       40.        At this point Ms. Faller was experiencing intense anxiety and panic that would

have been avoided had her accommodation request for a female officer not been denied.

       41.        Now sitting on the cell bed, Ms. Faller put her hands up to signal she was not

aggressive, and again explained that she had PTSD from being raped and that being handled this

way by men makes her fearful and anxious. She also again requested the assistance of a female
                                                   6
 Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 7 of 13                      PageID #: 7




officer. As she was speaking, she watched as five other male corrections officers enter the cell

and close in around her.

        42.    The Booking Officer began yelling and pointing at Ms. Faller. He then grabbed

her by the arms, spun her around and picked her up, before violently slamming her against the

wall. At this point two additional corrections officers joined him, and together they held Ms.

Faller down while they began to strip items off her body.

        43.    During this process, Ms. Faller was thrown against the wall so forcefully that it

fractured her tailbone, causing her tremendous pain.

        44.    Ms. Faller was terrified and did not know what was happening or what to do. She

was surrounded by men who were on top of her and seemed to be trying to remove her clothes.

        45.    Less than a minute later, a female corrections officer witnessed what was

happening and immediately entered the cell to intervene.

        46.    The female officer told the male officers that she would take over with Ms. Faller.

        47.    The male officers backed away from Ms. Faller and the female corrections officer

completed the process without additional issues.

        48.    The female officer removed Ms. Faller’s shoes and her jewelry.

        49.    Ms. Faller was then escorted to a cell where she was housed alone for the duration

of her stay.

        50.    While in the cell Ms. Faller repeatedly requested medical attention because of the

intense pain she felt in her lower back and bottom. The pain was so severe that lying down and

sitting were extremely difficult.

        51.    Eventually a nurse came to the cell door. Through the door, Ms. Faller explained

what happened and the pain that she was feeling. She requested emergency medical attention and

medication for the pain.
                                                 7
 Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 8 of 13                           PageID #: 8




       52.     The nurse did not open the cell door and did not examine Ms. Faller in response

to her complaints. Instead, she told Ms. Faller that she would not receive any medical attention.

Then the nurse left.

       53.     This was the only interaction Ms. Faller had with any member of the Jail’s

medical staff. Ms. Faller received no medical examination while in the Jail. She received no pain

medication despite her requests.

       54.     On April 29, 2016, Ms. Faller was released from Two Bridges Regional Jail. She

was exhausted and emotionally and physically injured as a result of her treatment.

       55.     On April 30, 2016, Ms. Faller sought medical attention for the physical injuries

she suffered in Two Bridges Regional Jail. Medical records reflect that Ms. Faller had bruising

scattered on both her arms and both her thighs. X-rays revealed that corrections officers had

fractured her coccyx (tailbone).

       56.     In addition, she obtained counseling and mental health treatment for the emotional

pain and suffering that was inflicted on her at the jail, which continues to this day.

                                      CAUSES OF ACTION

                                FIRST CLAIM:
             VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       57.     Ms. Faller re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 to 56, above.

       58.     Ms. Faller’s anxiety, depression, and PTSD qualify as disabilities within the

meaning of the ADA.

       59.     Ms. Faller is otherwise qualified to participate in or receive the benefit of the Two

Bridges Regional Jail’s services, programs, or activities, including those services, programs, and

activities related to the booking, housing, and processing of individuals into the Jail.

                                                  8
 Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 9 of 13                         PageID #: 9




       60.     Defendant Two Bridges Regional Jail is a public entity pursuant to 42 U.S.C. §

12131(1) of the ADA.

       61.     The Department of Justice specified that the statutory term "program" includes

"the operations of the agency or organizational unit of government receiving or substantially

benefitting from the Federal assistance awarded, e.g., a police department or department of

corrections." 28 C.F.R. § 42.540. The regulations also indicate that "benefit" includes "provision

of services, financial aid, or disposition (i.e., handling, decision, sentencing, confinement, or

other prescription of conduct)." The commentary also made clear that "[t]he general regulatory

obligation to modify policies, practices, or procedures requires law enforcement to make changes

in policies that result in discriminatory arrests or abuse of individuals with disabilities." 28

C.F.R. § 35, App. A, Subpart B.

       62.     Ms. Faller was denied the benefits of the Two Bridges Regional Jail’s services,

programs, or activities by reason of her disability.

       63.     Specifically, Two Bridges Regional Jail intentionally discriminated against Ms.

Faller in violation of Title II of the ADA when the Booking Officer and other corrections officers

intentionally subjected her to an unnecessarily forceful booking and intake process, which

caused her emotional and physical injury. The Booking Officer knew Ms. Faller had PTSD that

would cause her to become fearful, anxious, and scared in response to his actions, and he chose

to treat her the way he did despite this knowledge. This violation by Two Bridges was done

intentionally and with deliberate indifference.

       64.     In addition, Two Bridges Regional Jail failed to provide the reasonable

accommodation or modification of the use of a female corrections officer to perform certain

aspects of the Jail’s booking and intake process, despite the fact that it knew Ms. Faller had



                                                   9
Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 10 of 13                        PageID #: 10




requested that accommodation because her PTSD, which made physical and aggressive

interactions with men traumatizing and acutely painful for her.

        65.     Such an accommodation was reasonable because a female corrections officer was

present in the jail and could provide the accommodation Ms. Faller requested. Indeed, a female

officer intervened and completed Ms. Faller’s booking and intake process after she was

physically and emotionally injured by the male officers. This violation by Two Bridges was done

intentionally and with deliberate indifference and caused her great physical and emotional injury,

pain, and suffering.

        66.     The accommodation and modification requested by Ms. Faller would not have

been an undue burden to Two Bridges Regional Jail and would not have fundamentally altered

the nature of its services, programs, or activities.

        67.     The acts and omissions alleged above constitute discrimination and failure to

accommodate in violation of Title II of the Americans with Disabilities Act and implementing

regulations, and caused Ms. Faller physical and emotional injuries. 42 U.S.C. § 12132, 28 C.F.R.

§ 35.130(b)(7).

                                  SECOND CLAIM:
                       VIOLATIONS OF THE REHABILITATION ACT

        68.     Ms. Faller re-alleges and incorporates by reference the allegations set forth in

paragraphs 1 to 67, above.

        69.     Ms. Faller’s anxiety, depression, and PTSD makes her a qualified individual with

a disability within the meaning of the Rehabilitation Act.

        70.     Ms. Faller is otherwise qualified to participate in or receive the benefit of the Two

Bridges Regional Jail’s services, programs, or activities.




                                                  10
Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 11 of 13                         PageID #: 11




       71.     Defendant Two Bridges Regional Jail is a public entity pursuant to 29 U.S.C. §

794 of the Rehabilitation Act.

       72.     The Department of Justice specified that the statutory term "program" includes

"the operations of the agency or organizational unit of government receiving or substantially

benefitting from the Federal assistance awarded, e.g., a police department or department of

corrections." 28 C.F.R. § 42.540. The regulations also indicate that "benefit" includes "provision

of services, financial aid, or disposition (i.e., handling, decision, sentencing, confinement, or

other prescription of conduct)." The commentary also made clear that "[t]he general regulatory

obligation to modify policies, practices, or procedures requires law enforcement to make changes

in policies that result in discriminatory arrests or abuse of individuals with disabilities." 28

C.F.R. § 35, App. A, Subpart B.

       73.     Ms. Faller was denied the benefits of the Two Bridges Regional Jail’s services,

programs, or activities by reason of her disability.

       74.     Specifically, Two Bridges Regional Jail intentionally discriminated against Ms.

Faller in violation of the Rehabilitation Act when the Booking Officer and other corrections

officers subjected her to an unnecessarily forceful and injurious booking and intake process. The

Booking Officer knew Ms. Faller had PTSD that would cause her to become fearful, anxious,

and scared in response to his actions, and he chose to treat her the way he did despite this

knowledge. This violation by Two Bridges was done intentionally and with deliberate

indifference and caused her great physical and emotional injury, pain, and suffering.

       75.     In addition, Two Bridges Regional Jail failed to provide the reasonable

accommodation or modification of the use of a female corrections officer to perform certain

aspects of the Jail’s booking and intake process, despite the fact that it knew Ms. Faller had



                                                  11
Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 12 of 13                        PageID #: 12




requested that accommodation because her PTSD, which made interacting with physical and

aggressive men traumatizing and acutely painful for her.

        76.     Such an accommodation was reasonable because a female corrections officer was

present in the jail and could provide the accommodation Ms. Faller requested. Indeed, a female

officer intervened and completed Ms. Faller’s booking and intake process after she was

physically and emotionally injured by the male officers. This violation by Two Bridges was done

intentionally and with deliberate indifference.

        77.     The accommodation and modification requested by Ms. Faller would not have

resulted in an undue burden to Two Bridges Regional Jail and would not have fundamentally

altered the nature of its services, programs, or activities.

        78.     The acts and omissions alleged above constitute discrimination and failure to

accommodate in violation of the Rehabilitation Act, and caused Ms. Faller physical and

emotional injuries.

                                      PRAYER FOR RELIEF

        WHEREFORE, Ms. Faller prays that this Court will:

        a.      Award compensatory damages.

        b.      Award costs of the action including reasonable attorneys’ fees, costs, and

                expenses.

        c.      Order Defendant Two Bridges Regional Jail to develop and provide staff adequate

                training to ensure that individuals with disabilities are not discriminated against

                and are provided reasonable accommodations for their disabilities.

        d.      Such other relief that this Court may deem appropriate.




                                                  12
Case 2:21-cv-00063-GZS Document 1 Filed 02/25/21 Page 13 of 13      PageID #: 13




                                    Respectfully submitted,


Dated: February 25, 2021            /s/ Samuel S. Riotte _______________________
                                    Samuel S. Riotte
                                    McTEAGUE HIGBEE
                                    Four Union Park
                                    P.O. Box 5000
                                    Topsham, ME 04086
                                    (207) 725-5581
                                    sriotte@mcteaguehigbee.com

                                    Counsel to Plaintiff




                                     13
